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                                  CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on January 30, 2024, I caused the foregoing

Sixth Monthly Application of Troutman Pepper Hamilton Sanders LLP for Compensation for

Services Rendered and Reimbursement of Expenses as Counsel for the Official Committee of

Unsecured Creditors for the Period December 1, 2023 Through and Including December 31, 2023

to be served upon the parties set forth on the attached service list in the manner indicated. All ECF

participants registered in these cases were served electronically on the date of filing through the

Court’s ECF system at their respective email addresses registered with the Court.

                                                      /s/ Tori L. Remington
                                                      Tori L. Remington (DE No. 6901)




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                                          Service List


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